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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

UNITED STATES,                                    §
                                                  §
v.                                                §           Cr. No. C-05-701
                                                  §
VICTOR ARCOS-BENITEZ.                             §


        ORDER FOR DEFENDANT TO PROVIDE ADDITIONAL INFORMATION

       Defendant Victor Arcos-Benitez (“Arcos-Benitez”) was convicted after a jury trial, and was

sentenced by Chief Judge Head on May 17, 2006. (D.E. 83). Final judgment was entered against him

on May 24, 2006, and he timely appealed. (D.E. 88, 84). On July 3, 2006, the Clerk received from

Arcos-Benitez a letter motion requesting the appointment of counsel to represent him on appeal.

       Although Arcos-Benitez was originally represented in his criminal proceedings by appointed

counsel, he later retained counsel, Fernando G. Mancias, who represented him throughout the trial and

sentencing. Because of this, Arcos-Benitez is not automatically entitled to appointed counsel on

appeal, but must show anew his financial eligibility for counsel. See 18 U.S.C. § 3006A(b)-(c); Fed.

R. App. P. 24.

       Arcos-Benitez summarily claims in his letter motion that he is indigent and unable to afford

counsel, but he has not provided any specific financial information from which this Court can

determine whether he is, in fact, financially unable to obtain counsel. Accordingly, the Clerk is

directed to provide Arcos-Benitez with a blank in forma pauperis application. Arcos-Benitez shall

complete the application and return it to the Clerk not later than twenty days after the entry of this




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Order. Once it is received, the undersigned will be able to determine his financial eligibility for

counsel and whether he is entitled to appointed counsel on appeal.


       It is ORDERED this 7th day of July, 2006.


                                             ____________________________________
                                              B. JANICE ELLINGTON
                                             UNITED STATES MAGISTRATE JUDGE




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